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                               UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


 JORDAN A. HOWARD, on behalf of
 himself and all others similarly situated,            CLASS ACTION COMPLAINT
                                                        FOR VIOLATIONS OF THE
              Plaintiff,                               FEDERAL SECURITIES LAWS

 v.
                                                          CASE NO. 1:21-cv-01004
 QUANTUMSCAPE CORPORATION f/k/a
 KENSINGTON CAPITAL ACQUISITION
 CORP., and JAGDEEP SINGH,                              DEMAND FOR JURY TRIAL

              Defendant.


                                 CLASS ACTION COMPLAINT

         NOW comes JORDAN A. HOWARD (“Plaintiff”), by and through the undersigned, on

behalf of himself and all others similarly situated, complaining as to the conduct of

QUANTUMSCAPE CORPORATION (“QuantumScape”) f/k/a KENSINGTON CAPITAL

ACQUISITION CORP. (“Kensington”) and JAGDEEP SINGH (“Singh”) (collectively

“Defendants”) as follows:

                               NATURE OF THE ACTION AND OVERVIEW

      1. Plaintiff brings this this class action on behalf of himself and numerous other individuals

under the Securities Exchange Act of 1934 (the “Exchange Act”). Specifically, Plaintiff’s claims

asserted herein arise under Sections 10(b) and 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and

78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17 C.F.R. § 240.10b-5). The putative

class covers all persons and entities that purchased or otherwise acquired QuantumScape securities

between December 8, 2020 and December 31, 2020 (the “Class Period”).

      2. QuantumScape develops battery technology for electric vehicles and other applications.

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   3. QuantumScape went public via business combination with Kensington, which closed on

November 25, 2020 (the “Merger”), with QuantumScape as the surviving public entity.

Kensington was a special purpose acquisition company that was formed for the purpose of

effecting a merger, capital stock exchange, asset acquisition, stock purchase, reorganization or

similar business combination. Though Kensington was not limited to a particular industry or

sector, it focused its search for a target business in the automotive and automotive-related sector.

   4. On January 4, 2021 an article was published on Seeking Alpha pointing to several risks

with QuantumScape’s solid-state batteries that make it “completely unacceptable for real world

field electric vehicles.” Specifically, it stated that the battery’s power means it “will only last for

260 cycles or about 75,000 miles of aggressive driving.” As solid-state batteries are temperature

sensitive, “the power and cycle tests at 30 and 45 degrees above what would have been

significantly worse if run even a few degrees lower.”

   5. On this news, the Company’s stock price fell $34.49, or approximately 40.84%, to close at

$49.96 per share on January 4, 2021, on unusually heavy trading volume.

   6. Throughout the Class Period, Defendants made materially false and/or misleading

statements, as well as failed to disclose material adverse facts about the Company’s business,

operations, and prospects. Specifically, Defendants failed to disclose to investors: (1) that the

Company’s purported success related to its solid-state battery power, battery life, and energy

density were significantly overstated; (2) that the Company is unlikely to be able to scale its

technology to the multi-layer cell necessary to power electric vehicles; and (3) that, as a result of

the foregoing, Defendants’ positive statements about the Company’s business, operations, and

prospects were materially misleading and/or lacked a reasonable basis.




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   7. As a result of Defendants’ wrongful acts and omissions, and the precipitous decline in the

market value of the Company’s securities, Plaintiff and other Class members have suffered

significant loss and damages.

                                    JURISDICTION AND VENUE

   8. This action arises under and is brought pursuant to the Exchange Act. Subject matter

jurisdiction is conferred upon this Court by 28 U.S.C. § 1391(b) and Section 27 of the Exchange

Act (15 U.S.C. § 78aa(c)).

   9. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendants conduct business

in the Northern District of Illinois and a substantial portion of the events or omissions giving rise

to the claims occurred within the Northern District of Illinois.

   10. In connection with the acts, transactions, and conduct alleged herein, Defendants directly

and indirectly used the means and instrumentalities of interstate commerce, including the United

States mail, interstate telephone communications, and the facilities of a national securities

exchange.

                                             PARTIES

   11. Plaintiff Jordan Howard, as set forth in the accompanying certification, incorporated by

reference herein, purchased QuantumScape securities during the Class Period and has been

damaged as a result of the federal securities law violations and false and/or misleading statements

and/or material omissions alleged herein.

   12. QuantumScape is incorporated under the laws of the state of Delaware with its principal

executive offices located in San Jose, California. QuantumScape’s Class A common stock trades

on the New York Stock Exchange (“NYSE”) under the symbol “QS.” Its warrants trade on the

NYSE under the symbol “QS.W.”



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   13. Singh founded QuantumScape and was its Chief Executive Officer (“CEO”) at all relevant

times. He is sometimes referred to hereinafter as the Individual Defendant. Singh, because of his

positions with the Company, possessed the power and authority to control the contents of the

Company’s reports to the SEC, press releases and presentations to securities analysts, money and

portfolio managers and institutional investors, i.e., the market. Singh was provided with copies of

the Company’s reports and press releases alleged herein to be misleading prior to or shortly after,

their issuance and had the ability and opportunity to prevent their issuance or cause them to be

corrected. Because of his positions and access to material non-public information available to

them, Singh knew that the adverse facts specified herein had not been disclosed to, and were being

concealed from, the public, and that the positive representations which were being made were then

materially false and/or misleading. Singh is liable for the false statements pleaded herein.

                                  SUBSTANTIVE ALLEGATIONS

                                          BACKGROUND

   14. QuantumScape develops battery technology for electric vehicles and other applications.

   15. QuantumScape went public via business combination with Kensington, which closed on

November 25, 2020, with QuantumScape as the surviving public entity. Kensington was a special

purpose acquisition company that was formed for the purpose of effecting a merger, capital stock

exchange, asset acquisition, stock purchase, reorganization or similar business combination.

Though Kensington was not limited to a particular industry or sector, it focused its search for a

target business in the automotive and automotive-related sector.

                  MATERIALLY FALSE AND MISLEADING STATEMENTS ISSUED
                              DURING THE CLASS PERIOD




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    16. The Class Period beings on December 8, 2020. On that day, QuantumScape announced

new performance data for its solid-state battery technology in a press release, stating in relevant

part:

         QuantumScape Corporation (NYSE: QS, or “QuantumScape”), a leader in the
         development of next generation solid-state lithium-metal batteries for use in electric
         vehicles (EVs), has released performance data demonstrating that its technology
         addresses fundamental issues holding back widespread adoption of high-energy
         density solid-state batteries, including charge time (current density), cycle life,
         safety, and operating temperature.

         A commercially-viable solid-state lithium-metal battery is an advancement that the
         battery industry has pursued for decades, as it holds the promise of a step function
         increase in energy density over conventional lithium-ion batteries, enabling electric
         vehicles with a driving range comparable to combustion engine based vehicles.
         QuantumScape’s solid-state battery is designed to enable up to 80% longer range
         compared to today’s lithium-ion batteries. Previous attempts to create a solid-state
         separator capable of working with lithium metal at high rates of power generally
         required compromising other aspects of the cell (cycle life, operating temperature,
         safety, cathode loading, or excess lithium in the anode).

         QuantumScape’s newly-released results, based on testing of single layer battery
         cells, shows its solid-state separators are capable of working at very high rates of
         power, enabling a 15-minute charge to 80% capacity, faster than either
         conventional battery or alternative solid-state approaches are capable of delivering.
         In addition, the data shows QuantumScape battery technology is capable of lasting
         hundreds of thousands of miles and is designed to operate at a wide range of
         temperatures, including results that show operation at -30 degrees Celsius. The
         tested cells were large-area single-layer pouch cells in the target commercial for
         factor with zero excess lithium on the anode and thick cathodes (>3mAh/cm2),
         running at rates of one-hour charge and discharge (1C charge and 1C discharge) at
         30 degrees Celsius. These tests demonstrated robust performance of these single
         layer pouch cells even at these high rates, resulting in retained capacity of greater
         than 80% after 800 cycles (demonstrating high columbic efficiency of greater than
         99.97%).

                                                  ***
         “We believe that the performance data we’ve unveiled today shows that solid-state
         batteries have the potential to narrow the gap between electric vehicles and internal
         combustion vehicles and help enable EVs to become the world’s dominant form of
         transportation,” said Jagdeep Singh, founder & CEO of QuantumScape.

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       Beyond its ability to function at high rates of power while delivering high energy
       density, other key characteristics of QuantumScape’s solid-state lithium-metal
       battery technology include:

            Zero excess lithium: In addition to eliminating the carbon or carbon/silicon
             anode, QuantumScape’s solid-state design further increases energy density
             because it uses no excess lithium on the anode. Some previous attempts at
             solid-state batteries used a lithium foil or other deposited-lithium anode,
             which reduces energy density.

            Long life: Because it eliminates the side reaction between the liquid
             electrolyte and the carbon in the anode of conventional lithium-ion cells,
             QuantumScape’s battery technology is designed to last hundreds of
             thousands of miles of driving. Alternative solid-state approaches with a
             lithium metal anode typically have not demonstrated the ability to work
             reliably at close to room temperatures (30 degrees Celsius) with zero excess
             lithium at high current densities (>3mAh/cm2) for more than a few hundred
             cycles, and result in a short-circuit or capacity loss before the life target is
             met. By contrast, today’s test results show that QuantumScape’s battery
             technology is capable of running for over 800 cycles with greater than 80%
             capacity retention.

            Low-temperature operation: QuantumScape’s solid-state separator is
             designed to operate at a wide range of temperatures, and it has been tested to
             -30 degrees Celsius, temperatures that render some other solid-state designs
             inoperable.

            Safety: QuantumScape’s solid-state separator is noncombustible and isolates
             the anode from the cathode even at very high temperatures — much higher
             than conventional organic separators used in lithium-ion batteries.

   17. On December 17, 2020, QuantumScape filed a registration statement for the sale of

securities held by insiders. Therein, the Company listed various risk factors regarding product

development, including:

       We face significant barriers in our attempts to produce a solid-state battery cell
       and may not be able to successfully develop our solid-state battery cell. If we
       cannot successfully overcome those barriers, our business will be negatively
       impacted and could fail.

       Producing lithium-metal solid-state batteries that meet the requirements for wide
       adoption by automotive OEMs is a difficult undertaking. We are still in
       development stage and face significant challenges in completing development of
       our battery and in producing battery cells in commercial volumes. Some of the

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       development challenges that could prevent the introduction of our solid-state
       battery cell include difficulties with increasing the yield of our separators and
       single-layer cells, multilayer cell stacking, packaging engineering to ensure
       adequate cycle life, cost reduction, completion of the rigorous and challenging
       specifications required by our automotive partners, including but not limited to,
       calendar life, mechanical testing, and abuse testing and development of the final
       manufacturing processes. . . . We are likely to encounter engineering challenges as
       we increase the dimensions and reduce the thickness of its solid-state separators. If
       we are not able to overcome these barriers in developing and producing its solid-
       state separators, our business could fail.

       To achieve target energy density, we need to stack our single-layer cells in a
       multilayer format, which is enclosed within a single battery package. Depending
       upon our customer’s requirements, our battery cell may require over one hundred
       single-layer battery cells within each battery package. We have not yet built a multi-
       layer solid-state battery cell in the dimensions required for automotive applications.
       There are significant developmental and mechanical challenges that we must
       overcome to build our multi-layer battery cell for automotive application. In
       addition, we will need to acquire certain tools that we currently do not possess and
       develop the manufacturing process necessary to make these multi-layer battery
       cells in high volume. If we are not able to overcome these developmental hurdles
       in building our multi-layer cells, our business is likely to fail.

       We are evaluating multiple cathode material compositions for inclusion in our
       solid-state battery cells and have not yet finalized the cathode composition or
       formulation. We also have not validated that the current cell design, with the
       inclusion of an organic gel made of an organic polymer and organic liquid catholyte
       as part of the cathode, meets all automotive requirements. We have not yet validated
       a manufacturing process or acquired the tools necessary to produce high volumes
       of our cathode material that meets all commercial requirements. If we are not able
       to overcome these developmental and manufacturing hurdles our business likely
       will fail.

       Even if we complete development and achieve volume production of our solid-state
       battery, if the cost, performance characteristics or other specifications of the battery
       fall short of our targets, our sales, product pricing and margins would likely be
       adversely affected.

   18. The registration statement also stated that the Company’s battery technology “will enable

significant benefits across battery capacity, life, safety, and fast charging while minimizing costs.”

It identified “five key requirements” that QuantumScape’s battery technology is intended to meet

to enable mass market adoption of electric vehicles:



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 Energy density. Our battery design is intended to significantly increase volumetric
  and gravimetric energy density by eliminating the carbon/silicon anode host
  material found in conventional lithium-ion cells. This increased energy density will
  enable EV manufacturers to increase range without increasing the size and weight
  of the battery pack, or to reduce the size and weight of the battery pack which will
  reduce the cost of the battery pack and other parts of the vehicle. For example, we
  estimate that our solid-state battery cells will enable a car maker to increase the
  range of a luxury performance EV—with 350 liters of available battery space—
  from 250 miles (400 km) to 450 miles (730 km) without increasing the size and
  weight of the battery pack. In the same example, our battery would enable the car
  maker to increase the maximum power output of such a vehicle from 420 kW to
  650 kW without increasing the size of the battery pack. Alternatively, we believe
  that our solid-state battery cells will enable a car maker to increase the range of a
  mass market sedan—with 160 liters of available battery space—from 123 miles
  (200km) to 233 miles (375km) without increasing the size and weight of the battery
  pack. Similarly, our battery would enable the car maker to increase the maximum
  power output of such vehicle from 100 kW to 150 kW without increasing the size
  of the battery pack.

 Battery life. Our technology is expected to enable increased battery life relative to
  conventional lithium-ion batteries. In a conventional cell, battery life is limited by
  the gradual irreversible loss of lithium due to side reactions between the liquid
  electrolyte and the anode. By eliminating the anode host material, we expect to
  eliminate the side reaction and enable longer battery life. Our latest single layer
  prototype cells have been tested to over 800 cycles (under stringent test conditions,
  including 100% depth-of-discharge cycles at one-hour charge and discharge rates
  at 30 degrees Celsius with commercial loading cathodes) while still retaining over
  80% of the cells’ discharge capacity.

 Fast charging capability. Our battery technology, and specifically our solid-state
  separator material, has been tested to demonstrate the ability to charge to
  approximately 80% in 15 minutes, faster than commonly used high-energy EV
  batteries on the market. In these conventional EV batteries, the limiting factor for
  charge rate is the rate of diffusion of lithium ions into the anode. If a conventional
  battery is charged beyond these limits, lithium can start plating on carbon particles
  of the anode rather than diffuse into the carbon particles. This causes a reaction
  between the plated lithium and liquid electrolyte which reduces cell capacity and
  increases the risk of dendrites that can short circuit the cell. With a lithium-metal
  anode, using our solid-state separator, we expect the lithium can be plated as fast
  as the cathode can deliver it.

 Increased safety. Our solid-state battery cell uses a ceramic separator which is not
  combustible and is therefore safer than conventional polymer separators. This
  ceramic separator is also capable of withstanding temperatures considerably higher
  than those that would melt conventional polymer separators, providing an
  additional measure of safety. In high temperature tests of our solid-state separator

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       material with lithium, the separator material remained stable in direct contact with
       molten lithium without releasing heat externally, even when heated up to 250
       degrees, higher than the 180-degree melting point of lithium.

     Cost. Our battery technology eliminates the anode host material and the associated
      manufacturing costs, providing a structural cost advantage compared to traditional
      lithium-ion batteries. We estimate that eliminating these costs will provide a
      savings of approximately 17% compared to the costs of building traditional lithium-
      ion batteries at leading manufacturers.


   19. On December 31, 2020, the Company filed its prospectus, which made substantially the

same statements identified in ¶¶ 17-18.

   20. The above statements identified in ¶¶ 16-19 were materially false and/or misleading, and

failed to disclose material adverse facts about the Company’s business, operations, and prospects.

Specifically, Defendants failed to disclose to investors: (1) that the Company’s purported success

related to its solid-state battery power, battery life, and energy density were significantly

overstated; (2) that the Company is unlikely to be able to scale its technology and the multi-layer

cell necessary to power electric vehicles; and (3) that, as a result of the foregoing, Defendants’

positive statements about the Company’s business, operations, and prospects were materially

misleading and/or lacked a reasonable basis.

   21. On January 4, 2021, before the market opened, an article was published on Seeking Alpha

pointing to several risks with QuantumScape’s solid-state batteries that make it “completely

unacceptable for real world field electric vehicles.” Specifically, it stated that the battery’s power

means it “will only last for 260 cycles or about 75,000 miles of aggressive driving.” As solid-state

batteries are temperature sensitive, “the power and cycle tests at 30 and 45 degrees above would

have been significantly worse if run even a few degrees lower.” The article listed the following as

the Company’s “Areas of Overstated Success:”




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       All of these areas below are described as successful, because they are much better
       than has been achieved with solid state batteries in the past. But they are completely
       unacceptable for real world field electric vehicle performance.

               Power: They have done 1200 cycles of a 90 second OEM specified track
                simulation, which pulled pulses of 6C. In this track, 9 laps is full depth of
                discharge, when the battery was headed to 45 degrees C (113 degrees F)
                and charged to 80% in 15 minutes. The cell lost about 10% of its capacity
                in this 130 cycle test, meaning the battery will only last for 260 cycles or
                about 75,000 miles of aggressive driving. There is a note on the slide that
                it occurs at 3.4 atm, which likely means at high pressure. I’ll comment on
                this later.

               Range: In much gentler, 1C / 1C cycling at 30 degrees C, the cell makes it
                for 800 cycles, or 240,000 miles. Respectable, but not better than the
                vehicles on the road today.

               Low Temperature Operation: They show discharge curves at 0 to -30
                degrees Celsius, achieving 90 - 130 Wh/kg. Since their battery has >400
                Wh/kg, the range is from 25 - 30% of the battery capacity available in the
                winter, or about 75-100 miles at full capacity. Also, note that the
                temperature capability of solid state batteries is VERY temperature
                sensitive - thus the power and cycle tests at 30 and 45 degrees above would
                have been significantly worse if run even a few degrees lower.

               Low Temperature Life: They show 100 or so cycles at -10 degrees C.
                Respectable, except that these cycles are at C/5 charge and C/3 discharge.
                Thus, not 80% in 15 minutes, but rather 5% charge in 15 minutes.

               Energy Density: They talk about being able to get to an energy density of
                400Wh/kg, which would be great. However, they clearly have not yet, as all
                their graphs are normalized to 100%, not to an actual capacity. And
                Amprius is already making cells with 450 Wh/kg, and Tesla claimed on
                their Battery Day that they could achieve 350 Wh/kg. So, while nice, this
                energy density they hope to achieve in 2028 will not bet today’s state of the
                art, and will not be state of the art when it is achieved.

   22. The report also listed “Significant Challenges” that QuntumScape faces. In particular, it

highlighted that the Company has not yet created the multi-layer cells necessary to power electric

vehicles:

               Multi-layer cells: They have been unable to make multi-layer cells. My
                expectation is that it is because of the unstable interface between the
                cathode, which expands as much as 10% on discharge, and the solid state

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               electrolyte, which will not expand at all. They likely do their cycling under
               high isostatic pressure (remember the 3.4 atm mentioned earlier?), which
               will not flow through to inner layers. The inner layers will also be more
               rigidly constrained, so suffer more from the interfacial decay with cycling.
               Needless to say, 100,000 of their tiny pouch cells will never make a
               practical vehicle. It’s important to mention here that, if your technology
               works, making it a multilayer pouch cell is an easy afternoon’s work.

              Vibration and Dendrites: The electrolyte is very, very stiff. It is well
               documented that dendrites will not grow through solid, single crystal garnet
               electrolytes. However, they grow freely at grain boundaries and defects. In
               their pristine, temperature and pressure controlled and vibration-free labs,
               they can get the cells to cycle. But in a rugged SUV or on our terrible South
               Carolina roads, cracks and other defects will become plentiful and dendrites
               will grow. This will in the best case destroy cycle life, and in the worst cause
               the battery to explode.

              Lithium Metal Ignition: They tout using lithium metal to increase energy
               density. But they don’t mention that lithium metal auto-ignites at 179
               degrees Celsius, generating 200 – 300 kJ/mol, or 30 – 40 kJ/g, a massive
               amount of energy – about three times higher than ethylene carbonate, a
               common component of lithium ion electrolytes. Pure lithium is the second
               most energetic element behind beryllium, and could be used as a component
               of rocket rule (with an oxidant). In essence, they have replaced a burning
               separator and electrolyte for a much more flammable and energetic burning
               anode. There is plenty enough energy in the battery to raise the lithium to
               its ignition temperature, and if exposed to oxygen or water, it will likely
               ignite itself. There is plenty of oxygen available in the cathode materials.

              Cost: They claim lower cost, but are actually eliminating only one of the
               least expensive components – graphite. While this is true, they will have
               the added cost of building up their thin ceramic electrolyte and sintering
               it at high temperatures. My guess is that early on, their yields will be just
               terrible, if they can achieve production scale at all.


   23. On this new, the Company’s stock price fell $34.49, or approximately 40.84%, to close at

$49.96 per share on January 4, 2021, on unusually heavy trading volume.

                                  CLASS ACTION ALLEGATIONS

   24. Plaintiff brings this action as a class action pursuant to Federal Rules of Civil Procedure

23(a) and (b)(3) on behalf of the following putative Class (the “Class”):


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               All persons in the state of Illinois that purchased or otherwise
               acquired QuantumScape securities between December 8, 2020 and
               December 31, 2020, inclusive, and who were damaged thereby.

   25. Upon information and belief, the Class consists of dozens or more persons throughout the

state of Illinois, such that joinder of all Class members is impracticable. Throughout the Class

Period, QuantumScape’s shares actively traded on the NYSE. While the exact number of Class

members is unknown to Plaintiff at this time and can only be ascertained through appropriate

discovery, Plaintiff believes that there are at least hundreds of members in the proposed Class.

Millions of QuantumScape shares were traded publicly during the Class Period on the NYSE.

   26. Plaintiff’s claims are typical of the claims of the members of the Class as all members of

the Class are similarly affected by Defendants’ wrongful conduct in violation of federal law that

is complained of herein.

   27. Plaintiff will fairly and adequately protect the interests of the members of the Class and

has retained counsel competent and experienced in class litigation.

   28. Common questions of law and fact exist as to all members of the Class and predominate

over any questions solely affecting individual members of the Class. Among the questions of law

and fact common to the Class are:

           (a) whether the federal securities laws were violated by Defendants’ acts as alleged

herein;

           (b) whether statements made by Defendants to the investing public during the Class

Period omitted and/or misrepresented material facts about the business, operations, and prospects

of QuantumScape; and,

           (c) to what extent the members of the Class have sustained damages and the proper

measure of damages.



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   29. A class action is superior to other available methods for the fair and efficient adjudication

of this controversy, as the pursuit of hundreds of individual lawsuits would cause a strain on

judicial resources and could result in inconsistent or varying adjudications, yet each Class member

would be required to prove an identical set of facts in order to recover damages.

                                  UNDISCLOSED ADVERSE FACTS

   30. The market for QuantumScape’s securities was open, well-developed and efficient at all

relevant times. As a result of these materially false and/or misleading statements, and/or failures

to disclose, QuantumScape’s securities traded at artificially inflated prices during the Class Period.

Plaintiff and other members of the Class purchased or otherwise acquired QuantumScape’s

securities relying upon the integrity of the market prices of the Company’s securities and market

information relating to QuantumScape, and have been damaged thereby.

   31. During the Class Period, Defendants materially misled the investing public, thereby

inflating the price of QuantumScape’s securities, by publicly issuing false and/or misleading

statements and/or omitting to disclose material facts necessary to make Defendants’ statements, as

set forth herein, not false and/or misleading. The statements and omissions were materially false

and/or misleading because they failed to disclose material adverse information and/or

misrepresented the truth about QuantumScape’s business, operations, and prospects as alleged

herein.

   32. At all relevant times, the material misrepresentations and omissions particularized in this

Complaint directly or proximately caused or were a substantial contributing cause of the damages

sustained by Plaintiff and other members of the Class. As described herein, during the Class Period,

Defendants made or caused to be made a series of materially false and/or misleading statements

about QuantumScape’s financial well-being and prospects. These material misstatements and/or



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omissions had the cause and effect of creating in the market an unrealistically positive assessment

of the Company and its financial well-being and prospects, thus causing the Company’s securities

to be overvalued and artificially inflated at all relevant times. Defendants’ materially false and/or

misleading statements during the Class Period resulted in Plaintiff and other members of the Class

purchasing the Company’s securities at artificially inflated prices, thus causing the damages

complained of herein when the truth was revealed.

                                         LOSS CAUSATION

   33. Defendants’ wrongful conduct, as alleged herein, directly and proximately caused the

economic loss suffered by Plaintiff and the Class.

   34. During the Class Period, Plaintiff and the Class purchased QuantumScape’s securities at

artificially inflated prices and were damaged thereby. The price of the Company’s securities

significantly declined when the misrepresentations made the market, and/or the information

alleged herein to have been concealed from the market, and/or the effects thereof, were revealed,

causing investors’ losses.

                                     SCIENTER ALLEGATIONS

   35. As alleged herein, Defendants acted with scienter since Defendants knew that the public

documents and statements issued or disseminated in the name of the Company were materially

false and/or misleading; knew that such statements or documents would be issued or disseminated

to the investing public; and knowingly and substantially participated or acquiesced in the issuance

or dissemination of such statements or documents as primary violations of the federal securities

laws. As set forth elsewhere herein in detail, the Individual Defendant, by virtue of his receipt of

information reflecting the true facts regarding QuantumScape, his control over, and/or receipt

and/or modification of QuantumScape’s allegedly materially misleading misstatements and/or his



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associations with the Company which made him privy to confidential proprietary information

concerning QuantumScape, participated in the fraudulent scheme alleged herein.

                        APPLICABILITY OF PRESUMPTION OF RELIANCE

   36. The market for QuantumScape’s securities was open, well-developed, and efficient at all

relevant times. As a result of the materially false and/or misleading statements and/or failures to

disclose, QuantumScape’s securities traded at artificially inflated prices during the Class Period.

On December 22, 2020, the Company’s share price closed at a Class Period high of $131.67 per

share. Plaintiff and other members of the Class purchased or otherwise acquired the Company’s

securities relying upon the integrity of the market price of QuantumScape’s securities and market

information relating to QuantumScape, and have been damaged thereby.

   37. During the Class Period, the artificial inflation of QuantumScape’s shares was caused by

the material misrepresentations and/or omissions particularized in this Complaint, causing the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or misleading

statements about QuantumScape’s business, prospects, and operations. These material

misstatements and/or omissions created an unrealistically positive assessment of QuantumScape

and its business, operations and prospects, thus causing the price of the Company’s securities to

be artificially inflated at all relevant times, and when disclosed, negatively affected the value of

the Company shares. Defendants’ materially false and/or misleading statements during the Class

Period resulted in Plaintiff and other members of the Class purchasing the Company’s securities

at such artificially inflated prices, and each of them has been damaged as a result.

   38. At all relevant times, the market for QuantumScape’s securities was an efficient market

for the following reasons, among others:



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           (a) QuantumScape shares met the requirements for listing, and was listed and actively

traded on the NYSE, a highly efficient and automated market;

           (b) As a resulted issuer, QuantumScape filed periodic public reports with the SEC

and/or the NYSE;

           (c) QuantumScape regularly communicated with public investors via established

market communication mechanisms, including through regular dissemination of press releases on

the national circuits of major newswire services and through other wide-ranging public disclosures,

such as communication with the financial press and other similar reporting services; and/or

           (d) QuantumScape was followed by securities analysts employed by brokerage firms

who wrote reports about the Company, and these reports were distributed to the sales force and

certain customers of their respective brokerage firm. Each of these reports was publicly available

and entered the public marketplace.

   39. As a result of the foregoing, the market for QuantumScape’s securities promptly digested

current information regarding QuantumScape from all publicly available sources and reflected

such information in QuantumScape’s share price. Under these circumstances, all pruchasers of

QuantumScape’s securities during the Class Period suffered similar injury through their purchase

of QuantumScape’s securities at artificially inflated prices and a presumption of reliance applies.

   40. A Class-wide presumption of reliance is also appropriate in this action under the Supreme

Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972), because

the Class’s claims are, in large part, grounded on Defendants’ material misstatements and/or

omissions. Because this action involves Defendants’ failure to disclose material adverse

information regarding the Company’s business operations and financial prospects – information

that Defendants were obligated to disclose – positive proof of reliance is not a prerequisite to



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recovery. All that is necessary is that the facts withheld be material in the sense that a reasonable

investor might have considered them important in making investment decisions. Given the

importance of the Class Period material misstatements and omissions set forth above, that

requirement is satisfied here.

                                         NO SAFE HARBOR

   41. The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The statements alleged to be false and misleading herein all relate to then-existing facts and

conditions. In addition, to the extent certain of the statements alleged to be false may be

characterized as forward looking, there were not identified as “forward-looking statements” when

made and there were no meaningful cautionary statements identifying important factors that could

cause actual results to differ materially from those in the purportedly forward-looking statements.

In the alternative, to the extent that the statutory safe harbor is determined to apply to any forward-

looking statements pleaded herein, Defendants are liable for those false forward-looking

statements because at the time each of those forward-looking statements was made, the speaker

had actual knowledge that the forward-looking statement was materially false or misleading,

and/or the forward-looking statement was authorized or approved by an executive officer of

QuantumScape who knew that the statement was false when made.

                COUNT I – VIOLATION OF SECTION 10(B) OF THE EXCHANGE ACT
                        AND RULE 10B-5 PROMULGATED THEREUNDER
                                 AGAINST ALL DEFENDANTS

   42. Plaintiff repeats and realleges each and every allegations contained above as if fully set

forth herein.




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   43. During the Class Period, Defendants carried out a plan, scheme, and course of conduct

which was intended to and, throughout the Class Period, did: (i) deceive the investing public,

including Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and other

members of this Class to purchase QuantumScape’s securities at artificially inflated prices. In

furtherance of this unlawful scheme, plan and course of conduct, Defendants, and each defendant,

took the actions set forth herein.

   44. Defendants (i) employed devices, schemes, and artifice to defraud; (ii) made untrue

statements of material fact and/or omitted to state material facts necessary to make the statements

not misleading; and (iii) engaged in acts, practices, and a course of business which operated as a

fraud and deceit upon the purchasers of the Company’s securities in an effort to maintain

artificially high market prices for QuantumScape’s securities in violation of Section 10(b) of the

Exchange Act and Rule 10b-5. All Defendants are sued either as primary participants in the

wrongful and illegal conduct charged herein or as controlling persons as alleged below.

   45. Defendants, individually and in concert, directly and indirectly, by the use, means, or

instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

continuous course of conduct to conceal adverse material information about QuantumScape’s

financial well-being and prospects, as specified herein.

   46. Defendants employed devices, schemes, and artifices to defraud, while in possession of

material adverse non-public information and engaged in acts, practices, and a course of conduct as

alleged herein in an effort to assure investors of QuantumScape’s value and performance and

continued substantial growth, which included the making of, or the participation in the making of,

untrue statements of material facts and/or omitting to state material facts necessary in order to

make the statements made about QuantumScape and its business operations and future prosepcts



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in light of the circumstances under which they were made, not misleading, as set forth more

particularly herein, and engaged in transactions, practices, and a course of business which operated

as a fraud and deceit upon the purchasers of the Company’s securities during the Class Period.

   47. The Individual Defendant’s primary liability and controlling person liability arises from

the following facts: (i) he was a high-level executive and/or director at the Company during the

Class Period and members of the Company’s management team or had control thereof; (ii) by

virtue of his responsibilities and activities as a senior officer and/or director of the Company, he

was privy to and participated in the creation, development, and reporting of the Company’s internal

budgets, plans, projections and/or reports; (iii) the Individual Defendant enjoyed significant

personal contact and familiarity with the other defendants and was advised of, and had access to,

other members of the Company’s management team, internal reports, and other data and

information about the Company’s finances, operations, and sales at all relevant times; and (iv) the

Individual Defendant was aware of the Company’s dissemination of information to the investing

public which they knew and/or recklessly disregarded was materially false and misleading.

   48. Defendants had actual knowledge of the misrepresentations and/or omissions of material

fats set forth herein, or acted with reckless disregard for the truth in that they failed to ascertain

and to disclose such facts, even though such facts were available to them. Such Defendants’

material misrepresentations and/or omissions were done knowingly or recklessly and for the

purpose and effect of concealing QuantumScape’s financial well-being and prospects from the

investing public and supporting the artificially inflated price of its securities. As demonstrated by

Defendants’ overstatements and/or misstatements of the Company’s business, operations,

financial well-being, and prospects throughout the Class Period, Defendants, if they did not have

actual knowledge of the misrepresentations and/or omissions alleged, were reckless if failing to



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obtain such knowledge by deliberately refraining from taking those steps necessary to discover

whether those statements were false or misleading.

   49. As a result of the dissemination of the materially false and/or misleading information

and/or failure to disclose material facts, as set forth above, the market price of QuantumScape’s

securities was artificially inflated during the Class Period. In ignorance of the fact that market

prices of the Company’s securities were artificially inflated, and relying directly or indirectly on

the false and misleading statements made by Defendants, or upon the integrity of the market in

which the securities trades, and/or in the absence of material adverse information that was known

to or recklessly disregarded by Defendants, but not disclosed in public statements by Defendants

during the Class Period, Plaintiff and the other members of the Class acquired QuantumScape’s

securities during the Class Period at artificially high prices and were damaged thereby.

   50. At the time of said misrepresentations and/or omissions, Plaintiff and other members of the

Class were ignorant of their falsity, and believed them to be true. Had Plaintiff and the other

members of the Class and the marketplace known the truth regarding the problems that

QuantumScape was experiencing, which were not disclosed by Defendants, Plaintiff and other

members of the Class would not have purchased or otherwise acquired their QuantumScape

securities, or, if they had acquired such securities during the Class Period, they would not have

done so at the artificially inflated prices which they paid.

   51. By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange Act and

Rule 10b-5 promulgated thereunder.

   52. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the other

members of the Class suffered damages in connection with their respective purchases and sales of

the Company’s securities during the Class Period.



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                COUNT II – VIOLATION OF SECTION 20(A) OF THE EXCHANGE ACT
                             AGAINST THE INDIVIDUAL DEFENDANT

   53. Plaintiff repeats and realleges each and every allegations contained above as if fully set

forth herein.

   54. Individual Defendant acted as a controlling person of QuantumScape within the meaning

of Section 20(a) of the Exchange Act as alleged herein. By virtue of his high-level positions and

his ownership and contractual rights, participation in, and/or awareness of the Company’s

operations and intimate knowledge of the false financial statements filed by the Company with the

SEC and disseminated to the investing public, the Individual Defendant had the power to influence

and control, and did influence and control, directly or indirectly, the decision-making of the

Company, including the content and dissemination of the various statements which Plaintiff

contends are false and misleading. The Individual Defendant was provided with or had unlimited

access to copies of the Company’s reports, press releases, public filings, and other statements

alleged by Plaintiff to be misleading prior to and/or shortly after these statements were issued and

had the ability to prevent the issuance of the statements or cause the statements to be corrected.

   55. In particular, the Individual Defendant had direct and supervisory involvement in the day-

to-day operations of the Company and, therefore, had the power to control or influence the

particular transactions giving rise to the securities violations as alleged herein, and exercised the

same.

   56. As set forth above, QuantumScape and the Individual Defendant each violated Section

10(b) and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of his

position as a controlling person, Individual Defendant is liable pursuant to Section 20(a) of the

Exchange Act.




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   57. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and other

members of the Class suffered damages in connection with their purchases of the Company’s

securities during the Class Period.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for relief and judgment as follows:

           (a) Determining that this action is a proper class action under Rule 23 of the Federal

Rules of Civil Procedure;

           (b) Awarding compensatory damages in favor of Plaintiff and the other Class members

against all defendants, jointly and severally, for all damages sustained as a result of Defendants’

wrongdoing, in an amount to be proven at trial, including interest thereon;

           (c) Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and,

           (d) Such other and further relief as the Court may deem just and proper.



Dated: February 22, 2021                                    Respectfully submitted,

s/ Nathan C. Volheim                                 s/Eric D. Coleman
Nathan C. Volheim, Esq. #6302103                     Eric D. Coleman, Esq. #6326734
Counsel for Plaintiff                                Counsel for Plaintiff
Admitted in the Northern District of Illinois        Admitted in the Northern District of Illinois
Sulaiman Law Group, Ltd.                             Sulaiman Law Group, Ltd.
2500 South Highland Ave., Suite 200                  2500 South Highland Ave., Suite 200
Lombard, Illinois 60148                              Lombard, Illinois 60148
(630) 568-3056 (phone)                               (331) 307-7648 (phone)
(630) 575-8188 (fax)                                 (630) 575-8188 (fax)
nvolheim@sulaimanlaw.com                             ecoleman@sulaimanlaw.com


s/ Alejandro E. Figueroa
Alejandro E. Figueroa, Esq. # 6323891
Counsel for Plaintiff
Admitted in the Northern District of Illinois

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Sulaiman Law Group, Ltd.
2500 South Highland Ave., Suite 200
Lombard, Illinois
(630) 575-8181, ext. 120 (phone)
(630) 575-8188 (fax)
alejandrof@sulaimanlaw.com




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